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                              UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA


 RICHARD KADREY, et al.,

             Individual and Representative Plaintiffs,     Case No. 23-cv-03417-VC

        v.

 META PLATFORMS, INC., a Delaware
 Corporation,
                                            Defendant.
                               DECLARATION OF TRINA HUNN
       Trina Hunn declares as follows under 28 U.S.C. § 1746:
       1.        I am Vice President/Associate General Counsel of Non-Party HarperCollins
Publishers LLC (“HarperCollins”).
       2.        HarperCollins has been informed that Plaintiffs Richard Kadrey, Sarah Silverman,
Christopher Golden, Jacqueline Woodson, Andrew Sean Greer, Rachel Louise, Snyder, David
Henry Hwang, Ta-Nehisi Coates, Laura Lippman, Matthew Klam, Junot Díaz, Lysa Terkeurst
and Christopher Farnsworth (“Plaintiffs”) made reference to HarperCollins in a Power Point
presentation filed (Dkt. 588-1) in connection with their summary judgment opposition and reply
brief (Dkt. 517). Plaintiffs have identified two slides which reference a document produced by
HarperCollins in response to subpoenas served by Defendant Meta Platforms, Inc.
(“Defendant”).
       3.        HarperCollins designated all deal term negotiation documents it produced as
“HIGHLY CONFIDENTIAL - ATTORNEYS’ EYES ONLY” under the Stipulated Protective
Order (Dkt. 90), including specifically the document referenced in the Power Point presentation.
       4.        Accordingly, Plaintiffs separately filed an Administrative Motion to Consider
whether the references to the document produced by HarperCollins should be sealed (Dkt. 589.)
       5.        I write now, under Civil L.R. 79-5(f)(3), to offer this declaration in support of the
request to redact any reference to HarperCollins and the document it produced in the Power
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Point presentation filed in connection with Plaintiffs’ reply brief due to the highly confidential
nature of the document and the harm that disclosure of the contents of the document would
cause.
         6.    The document referenced by Plaintiffs is a data access and delivery agreement
(the “Agreement”) between HarperCollins and an undisclosed technology company which
contains
                                                  . Given the sensitive nature of the Agreement,
HarperCollins only disclosed the existence of and produced this Agreement based on
Defendant’s representation and agreement that the document would be designated as “HIGHLY
CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” and that HarperCollins would accordingly
receive the protection of the Stipulated Protective Order (Dkt. 90, the “Protective Order”).
Further, Defendant represented to HarperCollins that if any documents produced by
HarperCollins were to be filed, they would be filed under seal, and that there would be no public
reference to the content of HarperCollins’s documents in any filings. This representation was
based on Defendant’s legitimate expectation that documents such as the Agreement contained
confidential business information and trade secrets and rightfully deserved protection.
         7.    In my position as VP/Associate General Counsel, I have direct personal
knowledge that the Agreement has received highly confidential treatment throughout its creation
and implementation and contains information which HarperCollins was
                               Specifically, I am aware that HarperCollins has an express and
legitimate interest in keeping the Agreement and the contents of the Agreement confidential,




         8.    An Order was issued on April 29, 2025 by this Court at Dkt. 570, on an
administrative motion regarding whether HarperCollins’ material produced pursuant to a
protective order should be sealed. In that case, this Court found that HarperCollins’ confidential
documents, such as the Agreement and the identities of parties negotiating and engaging in



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licensing deals shall remain sealed and redacted and granted the motion to seal HarperCollins’
documents and reference thereto.
       9.      In the United States Court of Appeals for the Ninth Circuit, courts must apply one
of two legal standards to determine whether documents should be filed under seal, either the
“good cause” standard or the “compelling reason” standard. Kamakana v. City & Cnty. of
Honolulu, 447 F.3d 1172, 1179-1180 (9th Cir. 2006); Ctr. for Auto Safety v. Chrysler Grp., 809
F.3d 1092, 1098 (9th Cir. 2016). The former standard is applied in non-dispositive motions and
the latter is applied in dispositive motions. Kamakana, 447 F.3d at 1179-1180. The “compelling
reason” standard considers whether there are any “‘compelling reasons’ sufficient to outweigh
the public’s interest in disclosure” which this court found includes “confidential business and
proprietary information.” Id. and DSS Tech. Mgmt. v. Apple, No. 14-cv-05330-HSG, 2020 WL
210318, at *8 (N.D. Cal. Jan. 14, 2020), aff’d, 845 F. App’x 963 (Fed. Cir. 2021). Another
“compelling reason” justifying filing documents under seal is to protect trade secrets. Kamakana,
447 F.3d at 1179.
       10.     Given that Plaintiffs intend to make reference to the content of HarperCollins’s
highly confidential Agreement and file it in support of their dispositive motions, namely their
summary judgment opposition and reply brief, the “compelling reason” standard applies here. Id.
       11.     Any reference to HarperCollins’s Agreement or reference to the content of the
Agreement should be redacted and sealed for two “compelling reasons.” Id. First, the Agreement
contains confidential business information,


                                                       . The disclosure of the confidential
business information in the Agreement referenced in the Power Point presentation slides would
cause harm to HarperCollins that outweighs the public’s interest in the disclosure,




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              Next, the specific and final terms of the Agreement, which are referenced in the
Power Point presentation slides, also reveal HarperCollins’ trade secrets which HarperCollins
conceals from its competitors in the industry. Disclosure of the terms of the Agreement will




       12.     Further, per Civil L.R. 79-5(c)(1)(iii), there are no practicable less restrictive
alternatives to redacting references to HarperCollins’s Agreement or the content of the
Agreement in the Power Point presentation slides filed in support of Plaintiffs’ reply brief that
will adequately protect HarperCollins. HarperCollins’ involvement in such an agreement, and the
entirety of the Agreement itself is sensitive and revealing. HarperCollins will experience harm if
any specific provisions and even basic details of the Agreement are disclosed.




       13.     Also, the Agreement was the subject of the April 29, 2025 Order (Dkt. 570) where
this Court ultimately decided that HarperCollins’ material produced pursuant to a protective
order should be protected and be filed under seal. In that Order the court granted the motion to
seal references to the “names of other parties engaged in licensing deals.” Dkt. 570.
       14.     Accordingly, any reference to HarperCollins and the Agreement in the Power
Point presentation slides filed in support of Plaintiffs’ reply brief deserve protection pursuant to
Civil L.R. 79-5 and the Protective Order and HarperCollins hereby respectfully requests that any
reference to the existence of and the content of the Agreement be redacted and be filed under seal
to prevent the disclosure of the terms of the Agreement and harm to HarperCollins.

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       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.



Executed on May 14, 2025

New York, New York



                                                           Trina Hunn




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